IN THE UNITED STATES DISTRICT COUR'I`
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA

 

)
)
) Case NO. l:11CR161-1
)
]OHNNY REID EDWARDS, )
)
)

Defendant.

NOTICE OF LIMITED APPEA.RANCE
PLEASE TAKE NOTICE that the law firm of Skadden, Arps, Slate, Meagher & Plom
LLP by and through Counsel, Gregory B. Craig, makes a limited appearance in this
proceeding on behalf of the defendant, lohnny Reid Edwards.
Respectfully submitted, this the 3rd day of ]une, 2011.

/s/ Gregorv B. Crai£{
Gregory B. Craig
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CERTIFICATE OF SERVICE
The undersigned certifies that on ]une 3, 2011, a copy of the foregoing NOTICE OF
LIMITED APPEARANCE Was electronically filed With the Clerk of Court using the Cl\/l/ECF
system Which Will Send notification of Such filing to the following

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This the 3rd day of ]une, 2011.
Respectfully submitted,
/s/ Gregorv B. Craj,q

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